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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF RHODE ISLAND

 JOHN STILES, a pseudonym,

 v.                                                          C.A. NO.: 21-cv-497-MSM-LDA

 BROWN UNIVERSITY


                                DEFENDANT BROWN UNIVERSITY’S
                          MOTION FOR EXTENSION OF TIME TO RESPOND
                          TO (1) PLAINTIFF’S VERIFIED COMPLAINT AND
                     (2) MOTION FOR TEMPORARY RESTRAINING ORDER AND
                                    PRELIMINARY INJUNCTION

            Defendant Brown University (“Brown”) moves for an extension of time up to and including

 January 12, 2022 to respond to (1) Plaintiff’s Verified Complaint and (2) Motion for Temporary

 Restraining Order and Preliminary Injunction (“Motion”). Currently, Brown’s response to the

 Verified Complaint (ECF No. 1) is due on January 10, 2022, and its response to the Motion (ECF

 No. 10) is due on January 3, 2022.

            Brown requests that its deadline for each responsive filing be extended until January 12,

 2022 for the following reasons:

            1. Brown’s current response periods include the Christmas and New Year’s Day

                    weekends.

            2. Brown’s administrative offices closed for a holiday recess on December 22,

                    2021 and will reopen on January 4, 2022, which limits its counsel’s ability to

                    confer with Brown’s client representatives during this twelve-day period.

            3. In his Motion, Plaintiff, who has been accused of sexual assault by another

                    student, challenges Brown’s decision based upon its threat assessment review

                    to place him on an interim suspension pending the completion of the

                    disciplinary process.


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            4. As shown in the excerpt from Brown’s 2021-22 academic year calendar

                    attached as Exhibit A, the spring 2022 semester classes will start on January 26,

                    2022.

            5. Brown’s requested extension to January 12, 2022, for its responses to the

                    Verified Complaint and the Motion, will allow the Court and the parties a two-

                    week period to address the Motion before the start of the spring 2022 semester

                    classes.

            For the above-stated reasons, Brown requests that the Court grant its request for an

 extension of time up to and including January 12, 2022 to file its responses to Plaintiff’s Verified

 Complaint and Motion.



                                                      BROWN UNIVERSITY

                                                      By its Attorney,

                                                      /s/ Steven M. Richard
                                                      Steven M. Richard (#4403)
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 Dated: December 26, 2021



                                          CERTIFICATE OF SERVICE

        I certify that, on the 26th day of December, 2021, I filed and served this motion for
 extension of time via the Court’s CM/ECF system.                .


                                                      /s/ Steven M. Richard




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